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                  IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )
v.                                             )      Case No: 09-20133-06-JWL
                                               )
MECHIEEN McDOWELL,                             )
                                               )
                    Defendant                  )


                          MEMORANDUM AND ORDER

      On September 1, 2011, this court sentenced Mechieen McDowell to 108 months

imprisonment. On July 2, 2013, McDowell filed a Pro Se motion (doc. 1577) requesting

that the court file an Amended Judgment in which the court adds a recommendation that

McDowell be allowed to apply for the Bureau of Prisons’ 500 Hour Residential Drug

Abuse Program (RDAP). For the reasons set forth below, the court denies the motion.

      The court finds that it does not have the authority to amend the judgment on the

basis sought by the defendant.    Neither Fed. R. Crim. P. 35 (correction of sentence

within 14 days of sentencing that resulted from arithmetical, technical, or other clear

error), Fed. R. Crim. P. 36 (correction of sentence for clerical error), nor 18 U.S.C. §

3582 (discussing finality of judgment and exceptions) apply to the circumstances and

relief sought by McDowell.
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      The court alternatively finds that if it had the authority to amend the judgment, it

would deny the motion as moot on the basis that the court, through representatives of the

U.S. Probation Office, has conducted an inquiry into the matter, and has been advised

that McDowell has been screened for participation in the RDAP program, and has been

ruled unqualified. Further, RDAP officials have advised that a judicial recommendation

would not change McDowell’s status for enrollment in the program.


IT IS SO ORDERED.

Dated this 11th day of July 2013, in Kansas City, Kansas.


                                                  s/ John W. Lungstrum
                                                ________________________________
                                                John W. Lungstrum
                                                Senior United States District Judge
